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                                               UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MAINE

   In re Dav J Mizrachi and Jacqueline Mizrachi                                                                                      Case No. 06-10418
                                                                                                                                     Chapter 13


                                                                                                                       / Debtor




                                                              SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E and F to determine the total
amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they file a case under chapter 7, 11, or
13.




                                             Attached            No. of
       NAME OF SCHEDULE                      (Yes/No)            Sheets                   ASSETS                           LIABILITIES                           OTHER

 A-Real Property
                                                Yes                 1           $           200,000.00

 B-Personal Property
                                                Yes                 3           $               6,745.00

 C-Property Claimed as
   Exempt
                                                Yes                 1

 D-Creditors Holding Secured
   Claims
                                                Yes                 2                                              $              98,785.00

 E-Creditors Holding
   Unsecured Priority Claims                    Yes                 2                                              $              63,467.77
   (Total of Claims on Schedule E)
 F-Creditors Holding
   Unsecured Nonpriority Claims
                                                Yes                 4                                              $              68,501.00

 G-Executory Contracts and
   Unexpired Leases
                                                Yes                 1

 H-Codebtors
                                                Yes                 1

 I-Current Income of Individual
   Debtor(s)
                                                Yes                 2                                                                                 $             14,566.44

 J-Current Expenditures of
   Individual Debtor(s)
                                                Yes                 1                                                                                 $             13,382.13

                                  TOTAL                           18             $           206,745.00             $           230,753.77
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                                               UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MAINE

   In re Dav J Mizrachi and Jacqueline Mizrachi                                                                                  Case No. 06-10418
                                                                                                                                 Chapter 13



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.
 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether disputed or
   undisputed)                                                                                                    $       63,467.77
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                             $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       50,922.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
                                                                                                                  $       0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       114,389.80

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   14,566.44
   Average Expenses (from Schedule J, Line 18)                                                                        $   13,382.13
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   3,150.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   63,467.77
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   68,501.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   68,501.00
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or five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
         3. After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time
from future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury,
either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information
supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the
Office of the United States Trustee, the Office of the United States Attorney, and other components and employees of the
Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.

                                                         Certificate of Attorney
            I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code

Perry O'Brian
________________________________________                                    ___________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer              Date
          42 Columbia St.
Address:
         Bangor , ME 04401
________________________________________

   /s/ Perry O'Brian
X_______________________________________
Signature of Attorney

                                                          Certificate of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read this notice.

Dav J Mizrachi and Jacqueline Mizrachi
_________________________________________                                     /s/ Dav J Mizrachi
                                                                            X___________________________________
Printed Name(s) of Debtor(s)                                                Signature of Debtor         Date

                    06-10418
Case No. (if known) ____________________                                      /s/ Jacqueline Mizrachi
                                                                            X___________________________________
                                                                            Signature of Joint Debtor (if any) Date
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                         / Debtor         Case No. 06-10418
                                                                                                                                                     (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W ," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.
If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                          Current
             Description and Location of Property                              Nature of Debtor's                                              Amount of
                                                                                                                           Value
                                                                              Interest in Property                   of Debtor's Interest,
                                                                                                                                             Secured Claim
                                                                                                       Husband--H    in Property Without
                                                                                                          Wife--W       Deducting any
                                                                                                          Joint--J    Secured Claim or
                                                                                                     Community--C         Exemption


Primary Residence At 26 Coombs Street, Fee Simple                                                                J    $ 200,000.00             $ 98,785.00
Bangor, Me 04401 (Property was purchased
by the Debtors in 10/04 for $145,000.00.)




No continuation sheets attached                                                                TOTAL $                 200,000.00
                                                                        (Report also on Summary of Schedules.)
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                   / Debtor            Case No. 06-10418
                                                                                                                                                                       (if known)

                                                      SCHEDULE B-PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                            Current
               Type of Property                   N               Description and Location of Property                                                       Value
                                                                                                                                                      of Debtor's Interest,
                                                  o                                                                               Husband--H          in Property Without
                                                                                                                                      Wife--W            Deducting any
                                                  n                                                                                                    Secured Claim or
                                                                                                                                     Joint--J
                                                  e                                                                             Community--C               Exemption


1. Cash on hand.                                      Cash On Hand                                                                           J                    $ 50.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking Account @ Bank of America                                                                        $ 200.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       (Jacqueline's account)
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.

4. Household goods and furnishings,                   Computer Equipment (2 laptops, 1 desktop)                                                                 $ 800.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


                                                      Furniture/Furnishings                                                                                  $ 1,000.00
                                                      Location: In debtor's possession


                                                      Household Tools/Equipment (hand tools)                                                                      $ 50.00
                                                      Location: In debtor's possession


5. Books, pictures and other art objects,         X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                   Clothing/Wearing apparel                                                                                  $ 800.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                                  Jewelry (wedding bands,1 ring, costume                                                                    $ 500.00
                                                      jewelry)
                                                      Location: In debtor's possession


8. Firearms and sports, photographic, and             Firearms (Keltec P11 9mm hand gun)                                                                        $ 250.00
   other hobby equipment.
                                                      Location: In debtor's possession



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In re Dav J Mizrachi and Jacqueline Mizrachi                                                            / Debtor     Case No. 06-10418
                                                                                                                                                    (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY

                                                                          (Continuation Sheet)

                                                                                                                                        Current
               Type of Property                     N            Description and Location of Property                                    Value
                                                                                                                                   of Debtor's Interest,
                                                    o                                                                Husband--H    in Property Without
                                                                                                                         Wife--W      Deducting any
                                                    n                                                                               Secured Claim or
                                                                                                                        Joint--J
                                                    e                                                              Community--C         Exemption



9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Itemize.

13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.

16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

18. Other liquidated debts owing debtor             X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.

21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other             1996 Chrysler Town & Country Mini Van (mileage                                   $ 3,095.00
    vehicles.
                                                        177,000, good condition)

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In re Dav J Mizrachi and Jacqueline Mizrachi                                                      / Debtor          Case No. 06-10418
                                                                                                                                                      (if known)

                                                  SCHEDULE B-PERSONAL PROPERTY

                                                                    (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property             N            Description and Location of Property                                            Value
                                                                                                                                     of Debtor's Interest,
                                              o                                                                    Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                              n                                                                                       Secured Claim or
                                                                                                                      Joint--J
                                              e                                                                  Community--C             Exemption


                                                  Location: In debtor's possession


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings, and        X
    supplies.

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page      3       of   3                                                                                      Total                          $ 6,745.00
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                   / Debtor           Case No. 06-10418
                                                                                                                                                  (if known)

                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $125,000.
(Check one box)
   11 U.S.C. § 522(b) (2):
   11 U.S.C. § 522(b) (3):




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions

Primary Residence At 26 Coombs                      Fl. Const.Art. 10 §4(a)(1), FSA                          $ 101,215.00              $ 200,000.00
Street, Bangor, Me 04401                            §§222.01, 222.02, 222.05

Cash On Hand                                        Fl Const. Art. 10 §4(a)(2), FSA                                   $ 0.00                    $ 50.00
                                                    §222.061

Checking Account @ Bank of                          Fl Const. Art. 10 §4(a)(2), FSA                                   $ 0.00                   $ 200.00
America                                             §222.061

Computer Equipment                                  Fl Const. Art. 10 §4(a)(2), FSA                                $ 200.00                    $ 800.00
                                                    §222.061

Furniture/Furnishings                               Fl Const. Art. 10 §4(a)(2), FSA                             $ 1,000.00                $ 1,000.00
                                                    §222.061

Household Tools/Equipment                           Fl Const. Art. 10 §4(a)(2), FSA                                  $ 5 0 .0 0                 $ 50.00
                                                    §222.061

Clothing/Wearing apparel                            Fl Const. Art. 10 §4(a)(2), FSA                                   $ 0.00                   $ 800.00
                                                    §222.061

Jewelry                                             Fl Const. Art. 10 §4(a)(2), FSA                                $ 500.00                    $ 500.00
                                                    §222.061

Firearms                                            Fl Const. Art. 10 §4(a)(2), FSA                                $ 250.00                    $ 250.00
                                                    §222.061

1996 Chrysler Town & Country                        Fl. Stat. Ann. §222.25(1)                                   $ 2,000.00                $ 3,095.00
Mini Van




                                                                                                                                  Page No.     1 of      1
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Official Form 6D (10/06) West Group, Rochester, NY



In re Dav J Mizrachi and Jacqueline Mizrachi                                                           ,                                    Case No. 06-10418
                           Debtor(s)                                                                                                                                                (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not
disclose the child's name. See U.S.C. § 112. If a "minor child" is stated, also include the name, address, and legal relationship to the minor child of a person
described in Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)
           Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)"
on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on the
Summary of Schedules and, if the debtor is an individual with primary consumer debts, report the total from the column labeled "Unsecured Portion, if Any"
on the Statistical Summary of Certain Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                              Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                                of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                       Unliquidated


              Including ZIP Code and
                                                                                                                       Contingent




                                                                 Value of Property Subject to Lien
                                                     Co-Debtor




                                                                                                                                         Deducting Value
                                                                                                                       Disputed


                  Account Number
              (See Instructions Above.)                          H--Husband                                                                 of Collateral
                                                                 W--Wife
                                                                 J--Joint
                                                                 C--Community
Account No:
        6416                                                     J                                                                           $ 98,785.00                              $ 0.00
Creditor # : 1
Option One Mortgage                                                  primary residence @ 26 Coombs
3 ADA                                                                St,Bangor , Me 04401
Irvine CA 92618-2304

                                                                     Value:   $ 200,000.00
Account No:   6416
                                                                     Option One Mortgage
Representing:                                                        6501 Irvine Center Dr
Option One Mortgage                                                  Irvine CA 92618


                                                                     Value:

Account No:   6416
Representing:                                                        David A. Dunlavey, Esq.
                                                                     PO Box 1087
Option One Mortgage                                                  Presque Isle ME 04769-1087


                                                                     Value:

1      continuation sheets attached                                                                               Subtotal $                 $ 98,785.00                               $ 0.00
                                                                                                               (Total of this page)
                                                                                                                        Total $
                                                                                                           (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of
                                                                                                                                                                   Certain Liabilities and
                                                                                                                                                                   Related Data)
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                           Cont. West Rochester,
                               Group, Group, Rochester,
                                                 NY     NY



In re Dav J Mizrachi and Jacqueline Mizrachi                                                          ,                                    Case No. 06-10418
                           Debtor(s)                                                                                                                                               (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                               (Continuation Sheet)

                Creditor's Name and                            Date Claim was Incurred, Nature                                          Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                            Without                   Portion, If Any




                                                                                                                      Unliquidated
              Including ZIP Code and




                                                                                                                      Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor
                                                                                                                                        Deducting Value




                                                                                                                      Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                  of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   6416
Representing:                                                     Deutsche Bank National Trust
                                                                  Option One Mortgage
Option One Mortgage                                               3 Ada
                                                                  Irvine CA 92816

                                                                  Value:

Account No:




                                                                  Value:
Account No:




                                                                  Value:

Account No:




                                                                  Value:
Account No:




                                                                  Value:

Account No:




                                                                  Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                               Subtotal $                           $ 0.00                          $ 0.00
Holding Secured Claims                                                                                        (Total of this page)
                                                                                                                       Total $              $ 98,785.00                               $ 0.00
                                                                                                          (Use only on last page)
                                                                                                                                     (Report also on Summary of   (If applicable, report also on
                                                                                                                                     Schedules.)                  Statistical Summary of
                                                                                                                                                                  Certain Liabilities and
                                                                                                                                                                  Related Data)
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                      ,                                 Case No. 06-10418
                           Debtor(s)                                                                                                                                               (if known)
              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured
claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code,
and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child's name. See 11 U.S.C. § 112. If a "minor
child" is stated, also include the name, address and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them or the
marital community may be liable on each claim by placing an "H", "W ", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the
box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to
priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts
who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

       Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not
entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with primarily consumer
debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
     responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
     U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
     of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
     Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
     drug, or another substance. 11 U.S.C. § 507(a)(10).

                       *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                          1 No continuation sheets attached
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                                  ,                             Case No. 06-10418
                           Debtor(s)                                                                                                                                              (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                            (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:         Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                       Date Claim was Incurred and                                               Amount of     Amount       Amount not
                                                                              Consideration for Claim                                                  Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                                  Priority      Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                    Co-Debtor
                                                                                                                                                                                   if any




                                                                                                                                      Disputed
                                                                H--Husband
              (See instructions above.)                         W--Wife
                                                                J--Joint
                                                                C--Community

Account No:                                                     J                                                                                    $ 63,467.77 $ 63,467.77          $ 0.00
Creditor # : 1                                                       Tax debt
Internal Revenue Service
PO Box 21126
Philadelphia PA 19114


Account No:

Representing:                                                        Internal Revenue Service
Internal Revenue Service                                             68 Sewall Street, Room 311
                                                                     Augusta ME 04330-6382



Account No:

Representing:                                                        Office of the US Attorney
Internal Revenue Service                                             202 Harlow Street, Suite 111
                                                                     Bangor ME 04401



Account No:




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $           63,467.77   63,467.77            0.00
               1 of         1   continuation sheets attached                                                                (Total of this page)
to Schedule of Creditors Holding Priority Claims                                                                                     Total $
                                                                    (Use only on last page of the com pleted Schedule E. Report total also on          63,467.77
                                                                                                                   Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                    (Use only on last page of the com pleted Schedule E. If applicable, report                     63,467.77            0.00
                                                                    also on the Statistical Sum m ary of Certain Liabilities and Related Data.)
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                        ,                                   Case No. 06-10418
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with
the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating
"a minor child" and do not disclose the child's name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship
to the minor child of a person described in Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this
page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H," "W ," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

      If the claim is contingent, place an "X" in the column labeled "Cotingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules, and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


        Creditor's Name, Mailing Address                                       Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                 And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
          5483
Account No:                                                         J                                                                                                                                      $ 493.00
Creditor # : 1                                                            Medical Bills
Affiliated Collections
PO Box 1154
Bangor ME 04402-1154


Account No:                                                         J                                                                                                                                   $ 9,463.00
Creditor # : 2                                                            Reposession
Bay Country Consumer Financial
6619 Ritchie Hwy Ste 13
Glen Burnie MD 21061-6401


          1827
Account No:                                                         J                                                                                                                                   $ 1,124.00
Creditor # : 3                                                            Credit Card
Capital One
Attn Bankruptcy Dept
PO Box 30285
SLC UT 84130-0285

Account No:     1827
Representing:                                                            Capital One
                                                                         PO Box 85520
Capital One                                                              Internal Zip 12030-163
                                                                         Richmond VA 23285-5520


    3 continuation sheets attached                                                                                                                     Subtotal $                                      $ 11,080.00
                                                                                                                                                                      Total $
                                                                         (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                              and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                              Group,  Group, Rochester,
                                                NY      NY


In re Dav J Mizrachi and Jacqueline Mizrachi                                                                        ,                                   Case No. 06-10418
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                      (Continuation Sheet)


        Creditor's Name, Mailing Address                                       Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     1827
Representing:                                                            Capital One Bank
                                                                         PO Box 85015
Capital One                                                              Richmond VA 23285



Account No:     1827
Representing:                                                            Capital One Services
                                                                         15000 Capital One
Capital One                                                              Richmond VA 23238-1119



          3894
Account No:                                                         J                                                                                                                                      $ 112.00
Creditor # : 4                                                            Medical Bills
NCO - Medclear , Inc
507 Prudential Road
Horsham PA 19044-2308


Account No:     3894
Representing:                                                            NCO - Medclear
                                                                         PO Box 41448
NCO - Medclear , Inc                                                     Philadelphia PA 19101



          3895
Account No:                                                         J                                                                                                                                      $ 179.00
Creditor # : 5                                                            Medical Bills
NCO - Medclear Inc
507 Prudential Road
Horsham PA 19044-2308


Account No:     3895
Representing:                                                            NCO - Medclear
                                                                         PO Box 41448
NCO - Medclear Inc                                                       Philadelphia PA 19101




Sheet No.     1 of        3 continuation sheets attached to Schedule of                                                                                Subtotal $                                          $ 291.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                         (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                              and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Dav J Mizrachi and Jacqueline Mizrachi                                                                        ,                                   Case No. 06-10418
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                      (Continuation Sheet)


        Creditor's Name, Mailing Address                                       Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         J                                                                                                                                   $ 1,254.00
Creditor # : 6                                                            Credit Card
NCO Financial Systems
507 Prudential Road
Horsham PA 19044-2308


Account No:

Representing:                                                            NCO Financial Systems
                                                                         PO Box 7216
NCO Financial Systems                                                    Philadelphia PA 19101



Account No:                                                         J                                                                                                                                   $ 1,464.00
Creditor # : 7                                                            Credit Card
Providian Financial
PO Box 9180
Pleasanton CA 94566


Account No:

Representing:                                                            Providian Financial
                                                                         PO Box 9176
Providian Financial                                                      Pleasanton CA 94566-9176



          2649
Account No:                                                         J                                                                                                                                       $ 74.00
Creditor # : 8                                                            Medical Bills
The Thomas Agency
4 Union Street Ste 22
Bangor Maine 04401


Account No:     2649
Representing:                                                            TheThomas Agency
                                                                         561 Forest Ave
The Thomas Agency                                                        Portland ME 04101-1504




Sheet No.     2 of        3 continuation sheets attached to Schedule of                                                                                Subtotal $                                       $ 2,792.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                         (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules
                                                                              and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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                                                NY      NY


In re Dav J Mizrachi and Jacqueline Mizrachi                                                                        ,                                   Case No. 06-10418
                           Debtor(s)                                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                      (Continuation Sheet)


        Creditor's Name, Mailing Address                                       Date Claim was Incurred,                                                                                           Amount of Claim
                                                                               and Consideration for Claim.




                                                                                                                                                                        Unliquidated
                                                        Co-Debtor
                 including Zip Code,




                                                                                                                                                         Contingent
                                                                                If Claim is Subject to Setoff, so State.




                                                                                                                                                                                       Disputed
                And Account Number
                                                                    H--Husband
                (See instructions above.)                           W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         J                                                                                                                                  $ 50,922.00
Creditor # : 9                                                            Student Loan
US Department of Education
101 Marietta Tower Ste 423
Atlanta GA 30323-0001


Account No:

Representing:                                                            US Department of Education
                                                                         PO Box 5609
US Department of Education                                               Greenville TX 75403-5609



Account No:

Representing:                                                            Office of the US Attorney
                                                                         202 Harlow Street, First Floor
US Department of Education                                               Bangor ME 04401



Account No:                                                         J                                                                                                                                   $ 3,416.00
Creditor # : 10                                                           Credit Card
Wachovia Bank Of DE
PO Box 3117
Winston-Salem NC 27102-3117


Account No:

Representing:                                                            First Union Recovery
                                                                         PO Box 3117
Wachovia Bank Of DE                                                      Winston-Salem NC 27102-3117



Account No:




Sheet No.     3 of        3 continuation sheets attached to Schedule of                                                                                Subtotal $                                      $ 54,338.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                        Total $
                                                                         (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of Schedules                                    $ 68,501.00
                                                                              and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related Data)
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                / Debtor            Case No. 06-10418
                                                                                                                                                                   (if known)


                 SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating
"minor child" and do not disclose the child's name. See 11 U.S.C 112 Fed.R.Bankr.P. 1007(m).




   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                       Description of Contract or Lease and
                including Zip Code, of                                                             Nature of Debtor's Interest.
                other Parties to Lease                                                 State whether Lease is for Nonresidential Real Property.
                     or Contract                                                        State Contract Number of any Government Contract.

William E. Bolduc, Jr.                                        Contract Type: Lease/Purchase Agreement
21 Sandy Beach Road                                           Terms: $2,000 per month
Glenburn ME 04401                                             Beginning date:9/12/2006
                                                              Debtor's Interest: Lessee/Purchaser
                                                              Description: Lease and purchase of Maine Taxi
                                                              Buyout Option:$58,900




                                                                                                                                                     Page     1 of          1
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                      / Debtor          Case No. 06-10418
                                                                                                                                                 (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California Idaho, Louisiana, Nevada, New Mexico, Puerto Rico Texas, Washington, or Wisconsin) within the eight year
period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory.In community property states, a married debtor not filing a joint case should
report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating "a minor child" and do not
disclose the childs name. See 11 U.S.C 112 ; Fed.Bankr.P. 1007(m).
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                  Name and Address of Creditor




                                                                                                                                       Page     1 of      1
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                           ,         Case No. 06-10418
                          Debtor(s)                                                                                                        (if known)


                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
   Debtor's Marital                                                                DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                       RELATIONSHIP(S):                                                                   AGE(S):
     Married                      wife                                                                               41
                                  daughter                                                                           16
                                  daughter                                                                           16
                                  daughter                                                                           9
                                  daughter                                                                           5
  EMPLOYMENT:                                               DEBTOR                                                             SPOUSE

  Occupation                    Owner/Operator                                                         Unemployed
  Name of Employer              Maine Taxi Company
  How Long Employed             1 month
  Address of Employer           Bomarc Road
                                Bangor ME 04401


  Occupation                    Senior Business Broker                                                 Unemployed
  Name of Employer              Vested Business Brokers
  How Long Employed             11 months
  Address of Employer           50 Karl Avenue
                                Suite 102
                                Smithtown NY 11787-9006
  INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                         SPOUSE
  1. Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                       $                  0.00 $                        0.00
  2. Estimate Monthly Overtime                                                                         $                  0.00 $                        0.00
  3. SUBTOTAL                                                                                          $                  0.00 $                        0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                             $                  0.00    $                     0.00
      b. Insurance                                                                                     $                  0.00    $                     0.00
      c. Union Dues                                                                                    $                  0.00    $                     0.00
      d. Other (Specify):                                                                              $                  0.00    $                     0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                    $              0.00 $                            0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                   $              0.00 $                            0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)       $         12,566.44 $                            0.00
  8. Income from Real Property                                                                         $              0.00 $                            0.00
  9. Interest and dividends                                                                            $              0.00 $                            0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that      $              0.00 $                            0.00
  of dependents listed above.
  11. Social Security or government assistance
    Specify:                                                                                           $                  0.00 $                        0.00
  12. Pension or retirement income                                                                     $                  0.00 $                        0.00




                                                                                                                                        Page No.   1 of    2
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                              ,                    Case No. 06-10418
                          Debtor(s)                                                                                                                       (if known)


                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
  INCOME: (Estimate of average or projected monthly income at time case filed)     (continued)                            DEBTOR                             SPOUSE
  13. Other monthly income
    Specify: Commissions                                                                                   $                       2,000.00 $                              0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                14,566.44 $                                 0.00
  15. AVERAGE MONTHLY INCOME               (Add amounts shown on lines 6 and 14)                              $                14,566.44 $                                 0.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                14,566.44
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

                 Debtor is in the process of purchasing Maine Taxi. His income should become more stable
                 over the next few months.




                                                                                                                                                      Page No.       2 of         2
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                  ,                           Case No. 06-10418
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Pro rate any payments made
bi-weekly, quarterly, semi-annually, or annually to show monthly rate.


   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)       ..............................................................................................................
                                                                                                                                                         $                         0.00
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel  ..........................................................................................................................................
                                                                                                                                                          $                    425.00
                b. Water and sewer                                                                                                                        $                      50.00
                c. Telephone       ........................................................................................................................................................
                                                                                                                                                          $                    100.00
                d. Other      cable/internet                                                                                                              $                    150.00
                   Other     ..............................................................................................................................................................
                                                                                                                                                          $                        0.00
                   Other                                                                                                                                  $                        0.00
 3. Home maintenance (repairs and upkeep) ........................................................................................................................................
                                                                                                                                                       $                     125.00
 4. Food                                                                                                                                               $                     800.00
 5. Clothing .........................................................................................................................................................................
                                                                                                                                                       $                      50.00
 6. Laundry and dry cleaning                                                                                                                           $                        0.00
 7. Medical and dental expenses       ..................................................................................................................................................
                                                                                                                                                       $                      75.00
 8. Transportation (not including car payments)                                                                                                        $                     175.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc. ..............................................................................................................
                                                                                                                                                       $                      49.00
 10. Charitable contributions                                                                                                                          $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's     ..............................................................................................................................................
                                                                                                                                                          $                         0.00
              b. Life                                                                                                                                     $                        0.00
              c. Health    ................................................................................................................................................................
                                                                                                                                                         $                         0.00
              d. Auto                                                                                                                                     $                       41.67
              e. Other    .................................................................................................................................................................
                                                                                                                                                          $                         0.00
                 Other                                                                                                                                    $                        0.00
                 Other    .................................................................................................................................................................
                                                                                                                                                          $                         0.00
  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
          a. Auto         .................................................................................................................................................................
                                                                                                                                                          $                         0.00
          b. Other:                                                                                                                                       $                        0.00
          c. Other:       .................................................................................................................................................................
                                                                                                                                                          $                         0.00
          d. Other:                                                                                                                                       $                  0.00
 14. Alimony, maintenance, and support paid to others .............................................................................................................................
                                                                                                                                                    $                        0.00
 15. Payments for support of additional dependents not living at your home                                                                          $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)   .................................................................................
                                                                                                                                                    $               11,341.46
 17. Other:                                                                                                                                         $                        0.00
     Other: .........................................................................................................................................................................
                                                                                                                                                    $                        0.00
     Other:                                                                                                                                         $                        0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $               13,382.13
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
      See increases/decreases in income above.
  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               14,566.44
     b. Average monthly expenses from Line 18 above                                                                                                       $               13,382.13
     c. Monthly net income (a. minus b.)                                                                                                                  $                1,184.31
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In re Dav J Mizrachi and Jacqueline Mizrachi                                                                       Case No. 06-10418
                               Debtor                                                                                                                   (if known)




                               DECLARATION CONCERNING DEBTOR'S SCHEDULES

                              DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of   19   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:   10/30/2006                                     Signature   /s/ Dav J Mizrachi
                                                                        Dav J Mizrachi


     Date:   10/30/2006                                     Signature   /s/ Jacqueline Mizrachi
                                                                        Jacqueline Mizrachi
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                                               UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF MAINE


In re:Dav J Mizrachi                                                                                                        Case No. 06-10418
      aka Yehoshua Mizrachi
      and
      Jacqueline Mizrachi
      fka Jacqueline A. Ziegler
                                                               STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor
children by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to an applicable question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for
the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in business" for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including part-time activities
     either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the gross amounts
     received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
     calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
     separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)

AMOUNT                                                      SOURCE

Year to date: $18,900.00                                    Employment
   Last Year: $42,350.00
Year before: $0.00

2. Income other than from employment or operation of business
     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE

Year to date: $0.00                                          Pensions & annuties
   Last Year: $0.00
Year before: $22,173.44


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 QUESTION 2 CONTINUED ...

AMOUNT                                                       SOURCE

Year to date: $0.00                                          Ordinary dividends
   Last Year: $0.00
Year before: $6,167.00

3. Payments to creditors
    Complete a. or b., as appropriate, and c.

    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any creditor, made
    within 90 days immediately preceding the commencement of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less
    than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment
    schedule under a plan by an approved nonprofit budgeting and creditor counseling agency.(Married debtors filing under chapter 12 or chapter 13 must include payments by
    either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
    commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000. (Married debtors filing under
    chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders.
    (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and joint petition is not filed.)

    NONE



4. Suits and administrative proceedings, executions, garnishments and attachments
    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
    debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
    separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                             COURT OR AGENCY
AND CASE NUMBER                          NATURE OF PROCEEDING                                 AND LOCATION                                 STATUS OR DISPOSITION

Deutsche Bank                            Foreclosure                                        Maine District                                Pending
National Trust                                                                              Court
Company v. Dav and                                                                          Bangor, ME 04401
Jacqueline Mizrachi
(BAN-06-RE-95)

    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
    case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



5. Repossessions, foreclosures and returns
    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
    year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
    both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



6. Assignments and receiverships
    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing


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    under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
    petition is not filed.)

    NONE



    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
    case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
    unless the spouses are separated and a joint petition is not filed.)

    NONE



7. Gifts
    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
    aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter
    12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
    not filed.)

    NONE



8. Losses
    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
    (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
    and a joint petition is not filed.)

    NONE



9. Payments related to debt counseling or bankruptcy
    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief
    under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                            DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                   NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Perry O'Brian                                        Date of Payment: 10/06                                          $200.00
Address:                                                    Payor: Dav J Mizrachi
42 Columbia St.
Bangor, ME 04401


Payee: Institute For                                        Date of Payment: 10/06                                          $50.00
Financial Literacy                                          Payor: Dav J Mizrachi
Address:
Portland, ME

10. Other transfers
    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
    within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
    spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE




    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which the
    debtor is a benificiary.

    NONE



11. Closed financial accounts
    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
    immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and


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    share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
    chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the
    spouses are separated and a joint petition is not filed.)

    NONE



12. Safe deposit boxes
    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
    commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint
    petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE



13. Setoffs
    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
    filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
    a joint petition is not filed.)

    NONE



14. Property held for another person
    List all property owned by another person that the debtor holds or controls.

    NONE



15. Prior address of debtor
    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
    vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                                       DATES OF
ADDRESS                                                                  NAME USED                                                                     OCCUPANCY

Debtor: Dav & Jacqueline                                                 Name(s):          Dav & Jacqueline                                            8/03 to
Mizrachi                                                                 Mizrachi                                                                      10/04
Address: 4888 Davis Bv., #152
Naples, FL 34104

16. Spouses and Former Spouses
    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
    Puerto Rico, Texas, Washington, or W isconsin) within eight years period immediately preceding the commencement of the case, identify the name of the debtor's spouse
    and of any former spouse who resides or resided with the debtor in the community property state.

    NONE



17. Environmental Information
    For the purpose of this question, the following definitions apply:

    "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
    material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
    wastes, or material.

      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
      including, but not limited to disposal sites.

      "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or similar term
      under an Environmental Law:

    a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or in
    violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

    NONE




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    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental unit
    to which the notice was sent and the date of the notice.

    NONE



    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a party. Indicate
    the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

    NONE



18. Nature, location and name of business
    a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses in
    which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade,
    profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the commencment of this case.

         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
       in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencment of this case.


    NONE



    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


    NONE



    NONE


 [If completed by an individual or individual and spouse]


 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and
 any attachments thereto and that they are true and correct.



        Date    10/30/2006                            Signature       /s/ Dav J Mizrachi
                                                      of Debtor


                                                      Signature       /s/ Jacqueline Mizrachi
        Date    10/30/2006
                                                      of Joint Debtor
                                                      (if any)




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                                        UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MAINE

        Dav J Mizrachi                                                                              Case No. 06-10418
In re
        aka Yehoshua Mizrachi                                                                       Chapter 13
          and
        Jacqueline Mizrachi
        fka Jacqueline A. Ziegler
                                                                                         / Debtor
        Attorney for Debtor:   Perry O'Brian

                                      STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $             2,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                      200.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                 1,800.00

3. $             274.00             of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
     None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None


         The attorney fee does not include services for audits by the US Trustee's Office,
         motions under 707(b) or any adversary matters.
Dated: 10/30/2006                                  Respectfully submitted,


                                              X /s/ Perry O'Brian
                        Attorney for Petitioner: Perry O'Brian
                                                 Perry O'Brian
                                                 42 Columbia St.
                                                 Bangor ME 04401
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                                                                          According to the calculations required by this statement:
   In re   Dav J Mizrachi
                              Debtor(s)                               The applicable commitment period is 3 years.
                                                                      The applicable commitment period is 5 years.
   Case number: 06-10418
                                 (If known)                           Disposable income is determined under § 1325(b)(3).
                                                                      Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                           CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME

In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                             Part I. REPORT OF INCOME
                Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a.        Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.
           b.        Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for lines 2-10.
           All figures must reflect average monthly income recieved from all sources, derived during the six calendar                      Column A    Column B
   1       months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount                 Debtor's   Spouse's
           of monthly income varied during the six months, you must divide the six month total by six, and enter the                        Income      Income
           result on the appropriate line.
   2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                      $3,150.00   $0.00

           Income from the operation of a business, profession, or farm.                 Subtract Line b from
           Line a and enter the difference in the appropriate column(s) Line 3. Do not enter a number less than zero.
           Do not include any part of the business expenses entered on Line b as a deduction in Part IV.

   3
                a.     Gross receipts                                                $0.00
                b.     Ordinary and necessary business expenses                      $0.00
                c.     Business income                                               Subtract Line b from Line a                           $0.00       $0.00

           Rent and other real property income.           Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 4. Do not enter a number less than zero.      Do not include any
           part of the operating expenses entered on Line b as a deduction in Part IV.
   4            a.     Gross receipts                                                      $0.00
                b.     Ordinary and necessary operating expenses                           $0.00
                c.     Rent and other real property income                                 Subtract Line b from Line a                     $0.00       $0.00
   5       Interest, dividends, and royalties.                                                                                             $0.00       $0.00

   6       Pension and retirement income.                                                                                                  $0.00       $0.00

           Any amounts paid by another person or entity, on a regular basis, for the household
   7       expenses of the debtor or the debtor's dependents, including child or spousal support.
           Do not include amounts paid by the debtor's spouse.                                                                             $0.00       $0.00

           Unemployment compensation.             Enter the amount in the appropriate column(s) of Line 8.
           However, if you contend that unemployment compensation received by you or your
           spouse was a benefit under the Social Security Act, do not list the amount of such compensation
   8       in Column A or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act                       $0.00
                                                                       Debtor _____________                   $0.00
                                                                                                       Spouse _____________                $0.00       $0.00
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      Income from all other sources.           Specify source and amount. If necessary, list additional
9     sources on a separate page. Total and enter on Line 9.        Do not include any benefits received
      under the Social Security Act or payments received as a victim of a war crime, crime
      against humanity, or as a victim of international or domestic terrorism.
           a.                                                                               0
           b.                                                                               0

                                                                                                                                 $0.00         $0.00
      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
10
      through 9 in Column B. Enter the total(s).                                                                                 $3,150.00     $0.00

11    Total. If column B has been completed, add Line 10, Column A to Line 10, Column B, and
      enter the total. If Column B has not been completed, enter the amount from Line 10, Column A.                                          $3,150.00




                          Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
12    Enter the amount from Line 11.                                                                                                         $3,150.00
      Marital adjustment.       If you are married, but are not filing jointly with your spouse, AND if you contend
      that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
13
      your spouse, enter the amount of the income listed in Line 10, Column B that was NOT paid on a regular
      basis for the household expenses of you or your dependents. Otherwise, enter zero.                                                     $0.00

14    Subtract Line 13 from Line 12 and enter the result.                                                                                    $3,150.00
      Annualized current monthly income for § 1325(b)(4).                 Multiply the amount from Line 14 by
15
      the number 12 and enter the result.                                                                                                    $37,800.00

      Applicable median family income.              Enter the median family income for applicable state and household
      size. (This information is available by family size at   www.usdoj.gov/ust/ or from the clerk of the
16
      bankruptcy court.)
      a. Enter debtor’s state of residence: _______________
                                                MAINE           b. Enter debtor’s household size: ________________
                                                                                                         6                                   $77,406.00

      Application of § 1325(b)(4).      Check the applicable box and proceed as directed.

         The amount on Line 15 is less than the amount on Line 16.                   Check the box for "The applicable commitment
17    period is 3 years" at the top of page 1 of this statement and continue with this statement.
        The amount on Line 15 is not less than the amount on Line 16.                   Check the box for "The applicable commitment
      period is 5 years" at the top of page 1 of this statement and continue with this statement.



           Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
18    Enter the amount from Line 11.                                                                                                         $3,150.00
      Marital adjustment.       If you are married, but are not filing jointly with your spouse, enter the amount
19    of the income listed in Line 10, Column B that was NOT paid on a regular basis for the houshold expenses of
      you or your dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.                               $0.00
20    Current monthly income for § 1325(b)(3).           Subtract Line 19 from Line 18 and enter the result.                                 $3,150.00
      Annualized current monthly income for § 1325(b)(3).               Multiply the amount from Line 20 by
21
      the number 12 and enter the result.                                                                                                    $37,800.00
22    Applicable median family income.            Enter the amount from Line 16.                                                             $77,406.00
      Application of § 1325(b)(3).     Check the applicable box and proceed as directed.

         The amount on Line 21 is more than the amount on Line 22.               Check the box for "Disposable income is
         determined under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement
23
         The amount on Line 21 is not more than the amount on Line 22.                 Check the box for "Disposable income
         is not determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement.
         Do not complete Parts IV, V, or VI.
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                    Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                      Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
      National Standards: food, clothing, household supplies, personal care, and miscellaneous.
      Enter the "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable
24
      family size and income level. (This information is available at www.usdoj.gov/ust/ or from the clerk
      of the bankruptcy court.)                                                                                                              $

      Local Standards: housing and utilities; non-mortgage expenses.                Enter the amount of the
25A   IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size.
      (This information is available at www.usdoj.gov/ust/  or from the clerk of the bankruptcy court).                                      $

       Local Standards: housing and utilities; mortgage/rent expense.               Enter, in Line a below, the
      amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
      (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
      Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
      47; subtract Line b from Line a and enter the result in Line 25B.  Do not enter an amount less than zero.
25B
        a.    IRS Housing and Utilities Standards; mortgage/rental Expense                                    $
        b.    Average Monthly Payment for any debts secured by your
              home, if any, as stated in Line 47                                                              $
        c.    Net mortgage/rental expense                                                                     Subtract Line b from Line a.   $

      Local Standards: housing and utilities; adjustment.             If you contend that the process set out in
      Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
      Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
      state the basis for your contention in the space below:
26



                                                                                                                                             $

      Local Standards: transportation; vehicle operation/public transportation expense.
      You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
      operating a vehicle and regardless of whether you use public transportation.
      Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
27    are included as a contribution to your household expenses in Line 7.         0       1       2 or more.
      Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
      the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
      information is available at www.usdoj.gov/ust/     or from the clerk of the bankruptcy court.)                                         $

      Local Standards: transportation ownership/lease expense; Vehicle 1.                Check the number
      of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense
      for more than two vehicles.)       1    2 or more.
      Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
      www.usdoj.gov/ust/      or from the clerk of the bankruptcy court); enter in Line b the total of the Average
      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
28    Line a and enter the result in Line 28. Do not enter an amount less than zero.

         a.     IRS Transportation Standards, Ownership Costs, First Car               $
         b.     Average Monthly Payment for any debts secured by
                Vehicle 1, as stated in Line 47
                                                                                       $
         c.     Net ownership/lease expense for Vehicle 1                             Subtract Line b from Line a.                           $

      Local Standards: transportation ownership/lease expense; Vehicle 2.                      Complete this Line
      only if you checked the "2 or more" Box in Line 28.
      Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
      (available at www.usdoj.gov/ust/       or from the clerk of the bankruptcy court); enter in Line b the total of
      the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b
29    from Line a and enter the result in Line 29.    Do not enter an amount less than zero.
         a.     IRS Transportation Standards, Ownership Costs, Second Car              $
         b.     Average Monthly Payment for any debts secured by
                Vehicle 2, as stated in Line 47                                        $
         c.     Net ownership/lease expense for Vehicle 2                             Subtract Line b from Line a.                           $
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      Other Necessary Expenses: taxes.                 Enter the total average monthly expense that you actually incur
30    for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
      taxes, social security taxes, and Medicare taxes.         Do not include real estate or sales taxes.                           $

      Other Necessary Expenses: mandatory payroll deductions.                Enter the total average monthly
      payroll deductions that are required for your employment, such as mandatory retirement contributions,
31
      union dues, and uniform costs.      Do not include discretionary amounts, such as non-mandatory
      401(k) contributions.                                                                                                          $

      Other Necessary Expenses: life insurance.           Enter average monthly premiums that you actually
32    pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
      for whole life, or for any other form of insurance.                                                                            $

      Other Necessary Expenses: court-ordered payments.                 Enter the total monthly amount that
33    you are required to pay pursuant to court order, such as spousal or child support payments.        Do not include
      payments on past due support obligations included in Line 49.                                                                  $

      Other Necessary Expenses: education for employment or for a physically or mentally
      challenged child. Enter the total monthly amount that you actually expend for education that is a
34
      condition of employment and for education that is required for a physically or mentally challenged dependent
      child for whom no public education providing similar services is available.

      Other Necessary Expenses: childcare.             Enter the average monthly amount that you actually expend
35
      on childcare -- such as baby-sitting, day care, nursery and preschool.      Do not include other educational payments.         $

      Other Necessary Expenses: health care.          Enter the average monthly amount that you actually
36    expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.
       Do not include payments for health insurance listed or health savings accounts listed in Line 39.                             $

      Other Necessary Expenses: telecommunication services.                       Enter the average monthly amount
      that you actually pay for telecommunication services other than your basic home telephone service -- such as
37
      cell phones, pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary
      for your health and welfare or that of your dependents.         Do not include any amount previously deducted.                 $

38    Total Expenses Allowed under IRS Standards.              Enter the total of Lines 24 through 37.                               $

                                 Subpart B: Additional Expense Deductions under § 707(b)
                            Note: Do not include any expenses that you have listed in Lines 24-37
      Health Insurance, Disability Insurance, and Health Savings Account Expenses.                    List and total the average
      monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following categories:
        a.     Health Insurance                                                      $
39      b.     Disability Insurance                                                  $
        c.     Health Savings Account                                                $
                                                                                    Total: Add Lines a, b, and c                     $

      Continued contributions to the care of household or family members.                   Enter the actual
      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
40
      elderly, chronically ill, or disabled member of your household or member of your immediate family who is
      unable to pay for such expenses. Do not include payments listed in Line 34.                                                    $

      Protection against family violence.          Enter any average monthly expenses that you actually incurred
41    to maintain the safety of your family under the Family Violence Prevention and Services Act or
      other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                   $

      Home energy costs.       Enter the average monthly amount, in excess of the allowance specified by IRS
      Local Standards for Housing and Utilities, that you actually expend for home energy costs.     You must
42
      provide your case trustee with documentation demonstrating that the additional amount
      claimed is reasonable and necessary.                                                                                           $

      Education expenses for dependent children under 18.                  Enter the average monthly expenses
      that you actually incur, not to exceed $125 per child, in providing elementary and secondary education for
43    your dependent children less than 18 years of age.       You must provide your case trustee with documentation
      demonstrating that the amount claimed is reasonable and necessary and not already
      accounted for in the IRS Standards.                                                                                            $

      Additional food and clothing expense.         Enter the average monthly amount by which your food and
      clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not
44    to exceed five percent of those combined allowances. (This information is available at   www.usdoj.gov/ust/
      or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
      demonstrating that the additional amount claimed is reasonable and necessary.                                                  $
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      Continued charitable contributions.          Enter the amount that you will continue to contribute in the
45
      form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                  $

46    Total Additional Expense Deductions under § 707(b).                Enter the total of Lines 39 through 45.                   $

                                                Subpart C: Deductions for Debt Payment
      Future payments on secured claims.               For each of your debts that is secured by an interest in property
      that you own, list the name of creditor, identify the property securing the debt, and state the Average
      Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured
      Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include
      payments of taxes and insurance required by the mortgage. If necessary, list additional entries on a separate page.

               Name of Creditor          Property Securing the Debt                     60-month Average Payment

47      a.                                                                               $
        b.                                                                               $
        c.                                                                               $
        d.                                                                               $
        e.                                                                               $
                                                                                          Total: Add Lines a - e                   $

      Other payments on secured claims.               If any of the debts listed in Line 47 are secured by your primary
      residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
      you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
      in addition to the payments listed in Line 47, in order to maintain the possession of the property. The cure
      amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
      List and total any such amounts in the following chart. If necessary, list additional entries on a separate page.
               Name of Creditor            Property Securing the Debt                           1/60th of the Cure Amount
48
        a.                                                                                      $
        b.                                                                                      $
        c.                                                                                      $
        d.                                                                                      $
                                                                                                                                   $
        e.                                                                                      $
                                                                                                 Total: Add Lines a - e

      Payments on priority claims.       Enter the total amount of all priority claims (including priority child
49
      support and alimony claims), divided by 60.                                                                                  $

      Chapter 13 administrative expenses.             Multiply the amount in Line a by the amount in Line b, and
      enter the resulting administrative expense.
        a.     Projected average monthly Chapter 13 plan payment.
50      b.     Current multiplier for your district as determined under schedules
               issued by the Executive Office for United States Trustees.
               (This information is available at www.usdoj.gov/ust/      or from the
               clerk of the bankruptcy court.)                                            x $
        c.     Average monthly administrative expense of Chapter 13 case                  Total: Multiply Lines a and b            $

51    Total Deductions for Debt Payment.            Enter the total of Lines 47 through 50.                                        $

                                      Subpart D: Total Deductions Allowed under § 707(b)(2)
52     Total of all deductions allowed under § 707(b)(2).           Enter the total of Lines 38, 46, and 51.                       $




                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
53    Total current monthly income.          Enter the amount from Line 20.                                                        $

      Support income. Enter the monthly average of any child support payments, foster care payments, or
54    disability payments for a dependent child, included in Line 7, that you received in accordance with applicable
      nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                                         $

      Qualified retirement deductions.          Enter the monthly average of (a) all contributions or wage deductions
55    made to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans
      from retirement plans, as specified in § 362(b)(19).                                                                         $
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56    Total of all deductions allowed under § 707(b)(2).           Enter the amount from Line 52.

       Total adjustments to determine disposable income.                 Add the amounts on Lines 54, 55, and 56
57
      and enter the result.                                                                                                              $

      Monthly Disposable Income Under § 1325(b)(2).              Subtract Line 57 from Line 53 and enter the
58
      result.                                                                                                                            $




                                            Part VI: ADDITIONAL EXPENSE CLAIMS
      Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
      health and welfare of you and your family and that you contend should be an additional deduction from your current
      monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
      your average monthly expense for each item. Total the expenses.
                                      Expense Description                                              Monthly Amount
59
        a.                                                                            $
        b.                                                                            $
        c.                                                                            $
                                          Total: Add Lines a, b, and c                $




                                                         Part VII: VERIFICATION
      I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
      both debtors must sign.)
             10/30/06
      Date: ________________________                      /s/ Dav J Mizrachi
                                             Signature: ______________________________________________________________________
60
                                                               (Debtor)
             10/30/06
      Date: ________________________                       /s/ Jacqueline Mizrachi
                                             Signature: ______________________________________________________________________
                                                         (Joint Debtor, if any )
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